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Fill in this information to identify the case:

Debtor 1              Susan J. Michelfelder

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the : Eastern                  District of Pennsylvania
                                                                             (State)

Case number           17-17018-ELF



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                 12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:             Lakeview Loan Servicing, LLC                        Court claim no. (if known):         18

Last four digits of any number you                 XXXXXX0552                     Date of payment change:
use to identify the debtor’s account:                                             Must be at least 21 days after date of              12/1/2021
                                                                                  this notice

                                                                                  New total payment:
                                                                                  Principal, interest, and escrow, if any             $1,197.83

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtor’s escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:            $ 345.94                                    New escrow payment :          $ 347.73

Part 2:         Mortgage Payment Adjustment

2.     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s
       variable-rate account?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                         %                            New interest rate:           %

             Current principal and interest payment:        $ _________                   New principal and interest payment:           $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:                $ _________                           New mortgage payment:             $ _________




Official Form 410S1                                Notice of Mortgage Payment Change                                               page 1
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 Debtor 1            Susan J. Michelfelder                                          Case number (if known) 17-17018-ELF
                    First Name Middle Name    Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/Kinnera Bhoopal                                                                Date     11/08/2021
     Signature

Print:         Kinnera                                              Bhoopal            Title    Authorized Agent for Creditor
               First Name            Middle Name                    Last Name

Company        McCalla Raymer Leibert Pierce, LLC

Address        1544 Old Alabama Road
               Number      Street
               Roswell                       GA                      30076
               City                          State                   ZIP Code

Contact phone      (312) 348-9088 X5172                                                Email    Kinnera.Bhoopal@mccalla.com




Official Form 410S1                            Notice of Mortgage Payment Change                                   page 2
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                                                       Bankruptcy Case No.: 17-17018-ELF
 In Re:                                                Chapter:             13
          Susan J. Michelfelder                        Judge:               Eric L. Frank

                                   CERTIFICATE OF SERVICE

      I, Kinnera Bhoopal, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Susan J. Michelfelder
39 Dewsbury Lane
Quakertown, PA 18951

MICHAEL SETH SCHWARTZ                          (served via ECF Notification)
Law Office of Michael Schwartz
707 Lakeside Office Park
Southampton, PA 18966

KENNETH E. WEST                                (served via ECF Notification)
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107

United States Trustee                          (served via ECF Notification)
Office of the U.S. Trustee
200 Chestnut Street
Suite 502
Philadelphia, PA 19106

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:       11/09/2021       By:    /s/Kinnera Bhoopal
                    (date)                 Kinnera Bhoopal
                                           Authorized Agent for Creditor
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                                                                Your Account History**

    By comparing the actual escrow activity with the previous projections listed, you can determine where a difference may have occurred.
    If you have any questions about this statement, please call our Customer Service Department toll free at 1-800-411-7627.

               Projected   Actual
                                                                                           Projected            Actual              Projected          Actual
  Month       Payment to Payment to                          Description
                                                                                         Disbursement        Disbursement            Balance          Balance
                Escrow     Escrow
                                                         Beginning Balance                                                          $1,711.71           $1,324.47
  Dec    20        $342.35           $344.18 *                                                                                      $2,054.06           $1,668.65
  Jan    21        $342.35           $690.12 *                                                                                      $2,396.41           $2,358.77
  Feb    21        $342.35           $345.94 *                Hazard Ins                       $710.00                          *   $2,028.76           $2,704.71
  Feb    21                                                   Hazard Ins                                           $736.00      *   $2,028.76           $1,968.71
  Mar    21        $342.35           $345.94 *               Borough Tax                                           $469.64      *   $2,371.11           $1,845.01
  Apr    21        $342.35           $345.94 *               Borough Tax                       $469.64                          *   $2,243.82           $2,190.95
  May    21        $342.35                   *                                                                                      $2,586.17           $2,190.95
  Jun    21        $342.35          $691.88 *                                                                                       $2,928.52           $2,882.83
   Jul   21        $342.35          $345.94 *                 School Tax                                         $2,928.52      *   $3,270.87            $300.25
  Aug    21        $342.35                   *                School Tax                     $2,928.52                          *    $684.70             $300.25
  Sep    21        $342.35                   *                                                                                      $1,027.05            $300.25
  Oct    21        $342.35         $1,037.82 *                                                                                      $1,369.40           $1,338.07
  Nov    21        $342.35          $345.94 *                                                                                       $1,711.75           $1,684.01


    The total amount of escrow payments received during this period was $4,493.70 and the total escrow disbursements were $4,134.16.

    An asterisk (*) indicates a difference from a previous estimate either in the date or the amount of the deposit/disbursement.
    ** This section may also reflect anticipated escrow activity that has not yet occurred prior to the effective date of this analysis.


    Borrower Paid Mortgage Insurance Premium: Your mortgage loan requires a borrower paid mortgage insurance premium (“MIP”). MIP is insurance from
    the Federal Housing Administration (“FHA”) that protects lenders against loss in the event a borrower defaults on a mortgage.

    Effective for all loans closed on or after January 1, 2001, FHA annual MIP will be automatically cancelled under the following
    conditions:

    Loans with FHA case numbers assigned before June 3, 2013:
      · Mortgage loan terms greater than 15 years: the annual MIP will be cancelled when the loan to value ratio reaches 78%, provided the
        mortgagor has paid the annual mortgage insurance premium for at least five years.
      · Mortgage loan terms less than or equal to 15 years with a loan to value ratio greater than 78%: the annual MIP will be cancelled when
        the loan to value ratio reaches 78%.

    FHA will determine when you have reached the 78% loan to value ratio based on the lower of the sales price or appraised value at
    origination. New appraised values will not be considered. Cancellation of the annual mortgage insurance premium will normally be based
    on the scheduled amortization of the loan. However, in cases where additional payments have been applied to the loan balance as a
    prepayment, cancellation can be based on the actual amortization of the loan. If you have prepaid and believe you have met the
    requirements for cancelling the FHA insurance, please send a written request to us at P.O. Box 1288, Buffalo, NY 14240.

    Loans with FHA case numbers assigned on or after June 3, 2013:
      · Mortgage loan terms greater than 15 years with loan to value ratio greater than 90%: duration of the annual MIP is the loan term.
      · Mortgage loan terms greater than 15 years with loan to value ratio less than or equal to 90%: duration of the annual MIP is 11 years.
      · Mortgage loan terms less than or equal to 15 years with loan to value ratio greater than 90%: duration of the annual MIP is the loan
        term.
      · Mortgage loan terms less than or equal to 15 years with loan to value ratio less than or equal to 90%: duration of the annual MIP is 11
        years.

    M&T Bank is attempting to collect a debt and any information obtained will be used for that purpose. To the extent your original obligation was
    discharged, or is subject to an automatic stay of bankruptcy under Title 11 of the United States Code, this statement is for compliance and/or
    informational purposes only and does not constitute an attempt to collect a debt or to impose personal liability for such obligation. However, M&T Bank
    retains rights under its security instrument, including the right to foreclose its lien.
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                               Projected Escrow Payments Over the Next 12 Months

                 Anticipated Annual Disbursements                                       Projected Escrow Balance Summary

       Hazard Ins:                        $736.00                            M&T Bank expects to pay $4,134.16 over the next 12 months.
       City Tax:                          $469.64                            Here's how to calculate your new monthly escrow payment:
       Taxes:                           $2,928.52
                                                                             Total Taxes and Insurance:                       $4,134.16
       Total:                           $4,134.16
                                                                             Divided by 12 months:                              $344.51
                                                                             *New Monthly Escrow Payment:                       $344.51
  The cushion allowed by federal law (RESPA) is two times
  your monthly escrow payment (excluding MIP/PMI),
  unless state law specifies a lower amount.

                     Projections for the coming year: The following summary shows anticipated activity in your escrow
                          account for the next twelve months, which was used to calculate your payment above.

                *Monthly       Amount                                                           Projection              Projection
Month            Escrow       Scheduled                      Description                         Based On               Based On
                Payment       to be Paid                                                      Current Balance        Required Balance
                                                         Beginning Balance                         $1,684.01               $1,722.59
Dec    21          $344.51                                                                         $2,028.52               $2,067.10
Jan    22          $344.51                                                                         $2,373.03               $2,411.61
Feb    22          $344.51        $736.00                     Hazard Ins                           $1,981.54               $2,020.12
Mar    22          $344.51                                                                         $2,326.05               $2,364.63
Apr    22          $344.51        $469.64                    Borough Tax                           $2,200.92               $2,239.50
May    22          $344.51                                                                         $2,545.43               $2,584.01
Jun    22          $344.51                                                                         $2,889.94               $2,928.52
 Jul   22          $344.51                                                                         $3,234.45               $3,273.03
Aug 22             $344.51      $2,928.52                   School Tax                                $650.44                 $689.02
 Sep 22            $344.51                                                                             $994.95              $1,033.53
 Oct 22            $344.51                                                                           $1,339.46              $1,378.04
 Nov 22            $344.51                                                                           $1,683.97              $1,722.55

                     Escrow Requirements, New Mortgage Payment and Anticipated Annual Disbursements

                                               Projected Beginning Balance            $1,684.01
                                               -Required Minimum Balance              $1,722.59
                                               Escrow Shortage Amount                    $38.58


Your lowest monthly escrow balance for the next 12 months should reach $689.02, which equals a total of two months escrow payment. To
reach this balance, your required escrow amount after your 11/21 payment should be $1,722.59, whereas your actual escrow balance is
$1,684.01. The difference, $38.58, represents the amount needed in your escrow account and will be spread over the next 12 payments
unless this amount is paid in full.

*Based on these calculations for the coming year, if you pay your escrow amount in full your new total payment amount effective 12/01/21
will be the amount reflected in Option 1 on Page 1 of this statement. If you choose to spread the escrow amount over the next 12 payments
your total payment amount will be the amount reflected in Option 2 of Page 1 of this statement.
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       MORTGAGOR GUIDE TO FREQUENTLY ASKED ESCROW ANALYSIS QUESTIONS

     • Why am I receiving this escrow analysis statement?                                       – By Mail: Send a check made payable to M&T Bank and
        Mortgage lenders are required by regulations to perform                                   indicate on the memo line that you are making an escrow
        an annual review of your account and provide a hard copy                                  shortage payment. Please mail the check to: M&T Bank,
        statement for your records.                                                               Escrow Department, P.O. Box 64787, Baltimore, MD
                                                                                                  21264-4787. If you are paying your escrow shortage,
     • What is an escrow account?                                                                 the funds will be applied immediately, however your
                                                                                                  mortgage statement may not reflect changes until the
        An escrow account is an account created for the borrower
                                                                                                  analysis effective date.
        that is used to pay any property taxes, homeowner’s
        insurance and/or flood insurance (if applicable). As each                             • Why did my monthly escrow payment amount change?
        mortgage payment is made, a dedicated portion is added
        to the escrow account to pay taxes and/or insurance.                                    Your payment may have increased for several reasons.
                                                                                                Some of the most common reasons are:
     • What is an escrow payment?                                                               • Increases in your property taxes and/or insurance
        The portion of your monthly payment that is held and used                                 premiums
        to pay your escrowed items as they become due.                                          • Increases in your property’s tax assessment

     • How is my escrow payment determined?                                                     • Changes in your insurance carrier

        The calculation used to determine the escrow portion of                                 • Changes in your Tax due date
        your payment is:                                                                        • Fewer deposits to escrow than expected
        12 months of escrow payments                                                            TIP: Municipalities offer a few common tax exemptions
                            + Reserve*                                                          for disability, homestead, senior and veteran status.
                                 ÷ 12                                                           Check with your local tax office to see if you are eligible
                    = Escrow payment                                                            for these, or any other exemptions.

        We gather the anticipated payments that are to be paid                                • Why didn’t my payment go down when my taxes or
        in the next 12-month time frame from when the escrow                                    insurance did?
        analysis was performed. These payments may either be
                                                                                                The tax and/or insurance figures used for your analysis
        known, based on the prior year’s payments, or based on
                                                                                                calculation are based on last amount(s) paid, or, where
        payments of similar residential properties. We forecast
                                                                                                applicable, from your prior servicer or from your closing
        any anticipated increase or decrease and account for any
                                                                                                documents. If you have received more recently updated
        existing escrow account balance. We collect 1/12th of this
                                                                                                information from your tax assessor, please forward it to
        amount monthly.
                                                                                                eta@mtb.com.
        * An escrow reserve, also known as a cushion, is the amount of money collected
          to cover any unanticipated increases in your real estate tax or insurance premium   • Information regarding insurance
          payment. It acts as a buffer and helps to prevent your escrow account from being      Hazard insurance, also referred to as homeowner’s
          overdrawn. An escrow reserve exists on your account unless your mortgage              insurance, is an insurance policy purchased to protect your
          documents or state law applies and is generally a two-month cushion.                  property from certain hazards such as fire and theft. Policy
                                                                                                coverage may vary. See your insurance policy information
     • Will my escrow payment amount remain the same if I                                       for details regarding your specific coverage(s).
       remit the entire shortage amount at once?
                                                                                                If you decide to change your insurance carrier, please send
        Paying the full shortage amount will adjust your account                                the new policy information to: M&T Bank, It’s Successors
        resulting in the smallest possible increase in your monthly                             and/or Assigns, P.O. Box 5738, Springfield, OH 45501-5738.
        mortgage payment amount. It’s important to keep in mind                                 Or submit online at mycoverageinfo/mtb.com.
        that any increase in your real estate tax amounts and/or
        insurance premium(s) may cause your payment amount                                    • Do I need to send my tax and insurance bills each time
        to change even if you pay your shortage amount.                                         they’re due?

     • Am I required to pay the escrow shortage amount in full?                                 M&T receives the tax information directly from your
                                                                                                municipality. Unless requested, you do not need to send
        No, you are not required to pay the escrow shortage in full.                            them in. Tax bills are typically paid two to three weeks
        If you choose not to remit a payment in full, the escrow                                prior to the due date. If you want a supplemental, interim,
        shortage will be equally spread over 12 months of payments.                             or added assessment tax bill paid by us, you will need to
                                                                                                forward it to eta@mtb.com.
     • If I want to remit the full escrow shortage amount,
       what do I need to do?                                                                    M&T receives insurance information directly from your
                                                                                                carrier. However, if you change insurance carriers, please
        You are not required to remit the full escrow shortage
                                                                                                go to mycoverageinfo/mtb.com to update your insurance
        amount; however, if you choose to do so, you have
                                                                                                information.
        two options:
         – Online: Log in to M&T Online or Mobile Banking, select
                                                                                                  If you have additional questions, please
           your mortgage account and click the “Pay Now” button.
           Your mortgage loan must be current to use this option.                                 call us at 1-800-411-7627 Monday–Friday,
                                                                                                  8:30am–9pm ET and we’ll be happy to help.

      We appreciate your business.
      Thank you for giving us the opportunity to serve your financial needs.


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